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Case: 4:17-cv-00162-DAS Doc #: 1 Filed: 11/14/17 2 of 88 PageID #: 2
Case: 4:17-cv-00162-DAS Doc #: 1 Filed: 11/14/17 3 of 88 PageID #: 3
Case: 4:17-cv-00162-DAS Doc #: 1 Filed: 11/14/17 4 of 88 PageID #: 4
Case: 4:17-cv-00162-DAS Doc #: 1 Filed: 11/14/17 5 of 88 PageID #: 5
Case: 4:17-cv-00162-DAS Doc #: 1 Filed: 11/14/17 6 of 88 PageID #: 6
Case: 4:17-cv-00162-DAS Doc #: 1 Filed: 11/14/17 7 of 88 PageID #: 7
Case: 4:17-cv-00162-DAS Doc #: 1 Filed: 11/14/17 8 of 88 PageID #: 8
Case: 4:17-cv-00162-DAS Doc #: 1 Filed: 11/14/17 9 of 88 PageID #: 9
Case: 4:17-cv-00162-DAS Doc #: 1 Filed: 11/14/17 10 of 88 PageID #: 10
Case: 4:17-cv-00162-DAS Doc #: 1 Filed: 11/14/17 11 of 88 PageID #: 11
Case: 4:17-cv-00162-DAS Doc #: 1 Filed: 11/14/17 12 of 88 PageID #: 12
Case: 4:17-cv-00162-DAS Doc #: 1 Filed: 11/14/17 13 of 88 PageID #: 13
Case: 4:17-cv-00162-DAS Doc #: 1 Filed: 11/14/17 14 of 88 PageID #: 14
Case: 4:17-cv-00162-DAS Doc #: 1 Filed: 11/14/17 15 of 88 PageID #: 15
Case: 4:17-cv-00162-DAS Doc #: 1 Filed: 11/14/17 16 of 88 PageID #: 16
Case: 4:17-cv-00162-DAS Doc #: 1 Filed: 11/14/17 17 of 88 PageID #: 17
Case: 4:17-cv-00162-DAS Doc #: 1 Filed: 11/14/17 18 of 88 PageID #: 18
Case: 4:17-cv-00162-DAS Doc #: 1 Filed: 11/14/17 19 of 88 PageID #: 19
Case: 4:17-cv-00162-DAS Doc #: 1 Filed: 11/14/17 20 of 88 PageID #: 20
Case: 4:17-cv-00162-DAS Doc #: 1 Filed: 11/14/17 21 of 88 PageID #: 21
Case: 4:17-cv-00162-DAS Doc #: 1 Filed: 11/14/17 22 of 88 PageID #: 22
Case: 4:17-cv-00162-DAS Doc #: 1 Filed: 11/14/17 23 of 88 PageID #: 23
Case: 4:17-cv-00162-DAS Doc #: 1 Filed: 11/14/17 24 of 88 PageID #: 24
Case: 4:17-cv-00162-DAS Doc #: 1 Filed: 11/14/17 25 of 88 PageID #: 25
Case: 4:17-cv-00162-DAS Doc #: 1 Filed: 11/14/17 26 of 88 PageID #: 26
Case: 4:17-cv-00162-DAS Doc #: 1 Filed: 11/14/17 27 of 88 PageID #: 27
Case: 4:17-cv-00162-DAS Doc #: 1 Filed: 11/14/17 28 of 88 PageID #: 28
Case: 4:17-cv-00162-DAS Doc #: 1 Filed: 11/14/17 29 of 88 PageID #: 29
Case: 4:17-cv-00162-DAS Doc #: 1 Filed: 11/14/17 30 of 88 PageID #: 30
Case: 4:17-cv-00162-DAS Doc #: 1 Filed: 11/14/17 31 of 88 PageID #: 31
Case: 4:17-cv-00162-DAS Doc #: 1 Filed: 11/14/17 32 of 88 PageID #: 32
Case: 4:17-cv-00162-DAS Doc #: 1 Filed: 11/14/17 33 of 88 PageID #: 33
Case: 4:17-cv-00162-DAS Doc #: 1 Filed: 11/14/17 34 of 88 PageID #: 34
Case: 4:17-cv-00162-DAS Doc #: 1 Filed: 11/14/17 35 of 88 PageID #: 35
Case: 4:17-cv-00162-DAS Doc #: 1 Filed: 11/14/17 36 of 88 PageID #: 36
Case: 4:17-cv-00162-DAS Doc #: 1 Filed: 11/14/17 37 of 88 PageID #: 37
Case: 4:17-cv-00162-DAS Doc #: 1 Filed: 11/14/17 38 of 88 PageID #: 38
Case: 4:17-cv-00162-DAS Doc #: 1 Filed: 11/14/17 39 of 88 PageID #: 39
Case: 4:17-cv-00162-DAS Doc #: 1 Filed: 11/14/17 40 of 88 PageID #: 40
Case: 4:17-cv-00162-DAS Doc #: 1 Filed: 11/14/17 41 of 88 PageID #: 41
Case: 4:17-cv-00162-DAS Doc #: 1 Filed: 11/14/17 42 of 88 PageID #: 42
Case: 4:17-cv-00162-DAS Doc #: 1 Filed: 11/14/17 43 of 88 PageID #: 43
Case: 4:17-cv-00162-DAS Doc #: 1 Filed: 11/14/17 44 of 88 PageID #: 44
Case: 4:17-cv-00162-DAS Doc #: 1 Filed: 11/14/17 45 of 88 PageID #: 45
Case: 4:17-cv-00162-DAS Doc #: 1 Filed: 11/14/17 46 of 88 PageID #: 46
Case: 4:17-cv-00162-DAS Doc #: 1 Filed: 11/14/17 47 of 88 PageID #: 47
Case: 4:17-cv-00162-DAS Doc #: 1 Filed: 11/14/17 48 of 88 PageID #: 48
Case: 4:17-cv-00162-DAS Doc #: 1 Filed: 11/14/17 49 of 88 PageID #: 49
Case: 4:17-cv-00162-DAS Doc #: 1 Filed: 11/14/17 50 of 88 PageID #: 50
Case: 4:17-cv-00162-DAS Doc #: 1 Filed: 11/14/17 51 of 88 PageID #: 51
Case: 4:17-cv-00162-DAS Doc #: 1 Filed: 11/14/17 52 of 88 PageID #: 52
Case: 4:17-cv-00162-DAS Doc #: 1 Filed: 11/14/17 53 of 88 PageID #: 53
Case: 4:17-cv-00162-DAS Doc #: 1 Filed: 11/14/17 54 of 88 PageID #: 54
Case: 4:17-cv-00162-DAS Doc #: 1 Filed: 11/14/17 55 of 88 PageID #: 55
Case: 4:17-cv-00162-DAS Doc #: 1 Filed: 11/14/17 56 of 88 PageID #: 56
Case: 4:17-cv-00162-DAS Doc #: 1 Filed: 11/14/17 57 of 88 PageID #: 57
Case: 4:17-cv-00162-DAS Doc #: 1 Filed: 11/14/17 58 of 88 PageID #: 58
Case: 4:17-cv-00162-DAS Doc #: 1 Filed: 11/14/17 59 of 88 PageID #: 59
Case: 4:17-cv-00162-DAS Doc #: 1 Filed: 11/14/17 60 of 88 PageID #: 60
Case: 4:17-cv-00162-DAS Doc #: 1 Filed: 11/14/17 61 of 88 PageID #: 61
Case: 4:17-cv-00162-DAS Doc #: 1 Filed: 11/14/17 62 of 88 PageID #: 62
Case: 4:17-cv-00162-DAS Doc #: 1 Filed: 11/14/17 63 of 88 PageID #: 63
Case: 4:17-cv-00162-DAS Doc #: 1 Filed: 11/14/17 64 of 88 PageID #: 64
Case: 4:17-cv-00162-DAS Doc #: 1 Filed: 11/14/17 65 of 88 PageID #: 65
Case: 4:17-cv-00162-DAS Doc #: 1 Filed: 11/14/17 66 of 88 PageID #: 66
Case: 4:17-cv-00162-DAS Doc #: 1 Filed: 11/14/17 67 of 88 PageID #: 67
Case: 4:17-cv-00162-DAS Doc #: 1 Filed: 11/14/17 68 of 88 PageID #: 68
Case: 4:17-cv-00162-DAS Doc #: 1 Filed: 11/14/17 69 of 88 PageID #: 69
Case: 4:17-cv-00162-DAS Doc #: 1 Filed: 11/14/17 70 of 88 PageID #: 70
Case: 4:17-cv-00162-DAS Doc #: 1 Filed: 11/14/17 71 of 88 PageID #: 71
Case: 4:17-cv-00162-DAS Doc #: 1 Filed: 11/14/17 72 of 88 PageID #: 72
Case: 4:17-cv-00162-DAS Doc #: 1 Filed: 11/14/17 73 of 88 PageID #: 73
Case: 4:17-cv-00162-DAS Doc #: 1 Filed: 11/14/17 74 of 88 PageID #: 74
Case: 4:17-cv-00162-DAS Doc #: 1 Filed: 11/14/17 75 of 88 PageID #: 75
Case: 4:17-cv-00162-DAS Doc #: 1 Filed: 11/14/17 76 of 88 PageID #: 76
Case: 4:17-cv-00162-DAS Doc #: 1 Filed: 11/14/17 77 of 88 PageID #: 77
Case: 4:17-cv-00162-DAS Doc #: 1 Filed: 11/14/17 78 of 88 PageID #: 78
Case: 4:17-cv-00162-DAS Doc #: 1 Filed: 11/14/17 79 of 88 PageID #: 79
Case: 4:17-cv-00162-DAS Doc #: 1 Filed: 11/14/17 80 of 88 PageID #: 80
Case: 4:17-cv-00162-DAS Doc #: 1 Filed: 11/14/17 81 of 88 PageID #: 81
Case: 4:17-cv-00162-DAS Doc #: 1 Filed: 11/14/17 82 of 88 PageID #: 82
Case: 4:17-cv-00162-DAS Doc #: 1 Filed: 11/14/17 83 of 88 PageID #: 83
Case: 4:17-cv-00162-DAS Doc #: 1 Filed: 11/14/17 84 of 88 PageID #: 84
Case: 4:17-cv-00162-DAS Doc #: 1 Filed: 11/14/17 85 of 88 PageID #: 85
Case: 4:17-cv-00162-DAS Doc #: 1 Filed: 11/14/17 86 of 88 PageID #: 86
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